          Case 3:21-cr-00082-ADC Document 39 Filed 04/15/21 Page 1 of 4




                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF PUERTO RICO
 UNITED STATES OF AMERICA,

           v.                                                CRIMINAL NO. 21-82(ADC)

 [1] EUGENIO GARCIA JIMENEZ, et. al.,

 Defendant.



                                    PROTECTIVE ORDER

       :+(5($6WKH8QLWHG6WDWHVKDVPRYHGWKH&RXUWIRUHQWU\RIDSURWHFWLYHRUGHU

DSSOLFDEOHWR'LVFRYHU\0DWHULDO GHILQHGKHUHLQ WREHGLVFORVHGWRWKH'HIHQVH7HDPV DV

GHILQHGKHUHLQ WKDWLVSURGXFHGLQWKLVFDVH

       :+(5($6SXUVXDQWWR5XOH G  RIWKH)HGHUDO5XOHVRI&ULPLQDO3URFHGXUHWKH

&RXUWILQGVWKDWJRRGFDXVHH[LVWVIRUWKHHQWU\RIDSURWHFWLYHRUGHULQWKLVFDVHDQG

        :+(5($6WKH8QLWHG6WDWHVKDVSURSRVHGDSURFHGXUHWKDWDOORZVUHDVRQDEOHXVHRI

'LVFRYHU\0DWHULDOWRDOORZ'HIHQGDQWVWRSUHSDUHIRUWULDOLQWKLVFDVH
       ,7,6+(5(%<25'(5('

             $VXVHGLQWKLV2UGHU


                   D ³'HIHQVH7HDPV´VKDOOPHDQdefendants, their counsel of record,

                       employees of the defense counsel of record, and other personnel retained,

                       engaged or employed by the defense counsel of record in connection with

                       this case

                   E ³'LVFRYHU\0DWHULDO´VKDOOPHDQDOOGRFXPHQWVDQGHOHFWURQLFDOO\VWRUHG

                       LQIRUPDWLRQGLVFORVHGE\WKH8QLWHG6WDWHVWRWKH'HIHQVH7HDPVDVGXULQJ

                       GLVFRYHU\LQWKLVFDVH
             Case 3:21-cr-00082-ADC Document 39 Filed 04/15/21 Page 2 of 4




               7KH8QLWHG6WDWHVZLOOSURYLGH'LVFRYHU\0DWHULDOWKDWFRQWDLQVXQUHGDFWHG

SHUVRQDOLGHQWLI\LQJLQIRUPDWLRQDVZHOODVconfidential and sensitive information developed

through investigations of law enforcement and the use of the grand jury$OO'LVFRYHU\0DWHULDO

VKDOOEHXVHGVROHO\IRUWKHSXUSRVHRIFRQGXFWLQJSUHWULDOWULDODQGDSSHOODWHSURFHHGLQJVLQWKLV

DFWLRQDQGIRUQRRWKHUSXUSRVHZKDWVRHYHU,QQRHYHQWZLOOWKH'HIHQVH7HDPVGLVFORVH

GLUHFWO\RULQGLUHFWO\'LVFRYHU\0DWHULDORUWKHVXEVWDQFHWKHUHRIWRDQ\RQHLQFOXGLQJWKHPHGLD

H[FHSWLQJDQ\GLVFORVXUHVWKDWPD\RFFXUGXULQJSXEOLFSURFHHGLQJVDWDKHDULQJWULDORUDSSHDO

LQFRQQHFWLRQZLWKWKLVPDWWHU H[FHSWDVSURYLGHGKHUHLQ

               7KHXVHRI'LVFRYHU\0DWHULDODWWULDORUDWDQ\SUHRUSRVWWULDOKHDULQJVZLOOEH

UHVROYHGDWWKHWLPHRIWKHWULDORUKHDULQJLQTXHVWLRQ

               3ULRUWRWKHGLVFORVXUHRI'LVFRYHU\0DWHULDOXQGHUWKLV2UGHUWKHGHIHQGDQWDQG

HDFKPHPEHURIWKH'HIHQVH7HDPVVKDOOVLJQWKHDSSURSULDWHDWWDFKHG$FNQRZOHGJPHQWILOHWKH

VLJQHG$FNQRZOHGJPHQWex parte DQGXQGHUVHDO ZLWKWKH&RXUWDQGSURYLGHDFRS\WRWKH

JRYHUQPHQW7KH&RXUWZLOOQRWUHYLHZWKHVH$FNQRZOHGJHPHQWVDQGZLOOPDLQWDLQWKHPXQGHU

VHDOKRZHYHULIWKH&RXUWLVVDWLVILHGWKDWDYLRODWLRQRIWKLV2UGHULVHYLGHQWWKH&RXUWPD\

WKHQRSHQWKHVHDOHG$FNQRZOHGJHPHQWVDQGGLVFORVHWKHPWRDQDSSURSULDWHLQYHVWLJDWLQJ

DXWKRULW\

               ,QIXUWKHUDQFHRILWVLQYHVWLJDWLRQDQGWULDOSUHSDUDWLRQWKH'HIHQVH7HDPPD\

GLVFORVH'LVFRYHU\0DWHULDOWRSRWHQWLDOZLWQHVVHV XQGHUWKHIROORZLQJFRQGLWLRQV

                 D     3ULRUWRWKHDFWXDOGLVFORVXUHthe Defense Team member making an

                 investigative disclosure must read or summarize the pertinent parts of this Order or

                 provide a copy of this Order to any individual to whom disclosure will be made,

        
               8QGHUWKLV2UGHU³SRWHQWLDOZLWQHVV´DQG³ZLWQHVV´VKDOOLQFOXGHDQ\DWWRUQH\IRU
WKHSRWHQWLDOZLWQHVVRUZLWQHVVSURYLGHGKLVRUKHUDWWRUQH\ LIDQ\ DOVRDJUHHVWRWKHWHUPVRI
WKLV2UGHU
            Case 3:21-cr-00082-ADC Document 39 Filed 04/15/21 Page 3 of 4



                including the prohibitions of conveying any information to any other person or entity

                and the consequences of such an unauthorized disclosure, and orally advise the

                individual of his or her obligation to comply with its terms;

                E        Prior to the actual disclosure, the individual to whom disclosure is to be

                made shall execute an Acknowledgment to be filed with the Court ex parte and under

                seal within 48 hours of execution, that the individual has been informed of the

                existence of the protective order, understands it, and agrees to abide by its terms;

                F        7KH'HIHQVH7HDPwill maintain a log of all individuals to whom disclosure

                is made, specifying the time and date of the disclosure and describing the contents of

                the disclosure

                G        7KHindividual to whom disclosure is made shall not take any notes,

                otherwise record any information contained in the discovery materials, or retain such

                materials or copies of them;DQG

                H        8QOHVV such information is that of the individual to whom such materials are

                to be shown, the Defense Team will redact discovery materials so as not to disclose

                any personal identifying information or identifying financial account numbers before

                copies of such documents are shown to the individual.

             $Q\SHUVRQWRZKRPDGLVFORVXUHLVPDGHXQGHU3DUDJUDSKRIWKLV2UGHUVKDOOQRW

GLVFORVHRUFRQYH\DQ\LQIRUPDWLRQVRGLVFORVHGWRDQ\RWKHUSHUVRQ

             ,QIXUWKHUDQFHRILWVLQYHVWLJDWLRQDQGWULDOSUHSDUDWLRQWKH'HIHQVH7HDPVPD\

DVNTXHVWLRQVRIDSRWHQWLDOZLWQHVVGHULYHGIURP'LVFRYHU\0DWHULDOZLWKRXWDGYLVLQJWKH

ZLWQHVVRIWKLV2UGHU

             ,QIXUWKHUDQFHRILWVLQYHVWLJDWLRQDQGWULDOSUHSDUDWLRQWKH'HIHQVH7HDPVPD\

VKRZDSRWHQWLDOZLWQHVVFRSLHVRIVXPPDU\FKDUWVSKRWRJUDSKVRUEXVLQHVVUHFRUGVGHULYHG
              Case 3:21-cr-00082-ADC Document 39 Filed 04/15/21 Page 4 of 4




IURP'LVFRYHU\0DWHULDODVORQJDVWKHFRQGLWLRQVRI3DUDJUDSKVDQGRIWKLV2UGHUDUH

VDWLVILHG

               1RWKLQJLQWKLV2UGHUVKDOORSHUDWHRUEHFRQVWUXHGWRRSHUDWHDVUHVWULFWLQJWKH

GHIHQGDQWV¶ULJKWWRPHDQLQJIXOFRPPXQLFDWLRQZLWKWKHLUGHIHQVHFRXQVHORUWRDEURJDWHWKH

8QLWHG6WDWH¶GXW\WRSURYLGHH[FXOSDWRU\HYLGHQFHWRDQ\GHIHQGDQW

              1RWKLQJLQWKLV2UGHUVKDOOSUHYHQWWKH8QLWHG6WDWHVRUWKH'HIHQVH7HDPVIURP

XVLQJ'LVFRYHU\0DWHULDORUIURPUHIHUULQJWRRUUHFLWLQJDQ\LQIRUPDWLRQFRQWDLQHGLQVXFK

'LVFRYHU\0DWHULDOLQFRQQHFWLRQZLWKDQ\SOHDGLQJVRUPRWLRQVILOHGLQWKLVDFWLRQSURYLGHG

WKDWVXFKPDWHULDOLVSURSHUO\UHGDFWHGRULIVXFKUHGDFWLRQVFDQQRWEHUHDGLO\DFFRPSOLVKHG

ILOHGXQGHUVHDO

              7KHLQDGYHUWHQWRUXQLQWHQWLRQDOGLVFORVXUHRI'LVFRYHU\0DWHULDOVKDOOQRWEH

GHHPHGDZDLYHURIWKHFRQILGHQWLDOLW\RIVXFKPDWHULDORURWKHULQIRUPDWLRQUHODWLQJWRWKHVDPH

RUUHODWHGVXEMHFWPDWWHU8SRQGLVFRYHU\RILQDGYHUWHQWHUURUZLWKUHJDUGWRWKHGLVFORVXUHDOO

SDUWLHVVKDOOWRWKHH[WHQWUHDVRQDEO\SRVVLEOHFRRSHUDWHWRUHVWRUHWKHFRQILGHQWLDOLW\RIWKH

PDWHULDOWKDWZDVLQDGYHUWHQWO\RUXQLQWHQWLRQDOO\GLVFORVHG

              1RWKLQJLQWKLV2UGHUVKDOOSUHYHQWGLVFORVXUHEH\RQGWKHWHUPVRIWKLV2UGHULIDOO

SDUWLHVFRQVHQWLQZULWLQJWRVXFKGLVFORVXUHRULIVXFKGLVFORVXUHLVRUGHUHGE\WKH&RXUW

              9LRODWLRQVRIWKLV2UGHUPD\EHSXQLVKDEOHE\FRQWHPSWRIFRXUWRUE\ZKDWHYHU

RWKHUVDQFWLRQWKHFRXUWVKDOOGHHPMXVW

        ,7,66225'(5('WKLV15thGD\RIApril



                                                                S/Aida M. Delgado-Colón
                                                                United States District Judge
